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 January 17, 2020


 VIA E-MAIL

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 Re:   J.Y.C.C., et al. v. Doe Run Resources Corp. et al., 4:15 CV 1704 RWS –Discovery
 Cohort Plaintiffs’ Responses to Defendants’ Initial Written Discovery Requests

 Frank and Patrick:

          I write with respect to the fourteen Discovery Cohort Plaintiffs’ responses to Defendants’
 first sets of interrogatories and document requests, received on December 20, 2019. Plaintiffs’
 responses are deficient in several respects as outlined below, and Defendants have not yet
 received any records in response to their document requests. Plaintiffs’ complete responses to
 this written discovery are critical to understanding the nature of these fourteen discovery cohort
 cases and the basis of Plaintiffs’ claims in this litigation overall.

        The operative scheduling order contemplates that Defendants receive complete responses
 from these Plaintiffs prior to making Defendants’ fourteen Discovery Cohort selections.
 Accordingly, I request that Plaintiffs provide complete and verified supplemental responses and
 produce all responsive documents by January 31, 2020.

 Interrogatory Responses

        Verifications

         As we have discussed, none of Plaintiffs’ responses to Defendants’ interrogatories were
 verified or notarized. During our call on January 8, 2020, Plaintiffs represented that verifications
 for these discovery responses as well as currently unverified Plaintiff Fact Sheets would be
 provided within two weeks. As I stated during our call, Defendants are willing to grant Plaintiffs
 this extension. Accordingly, please ensure we receive notarized verifications for the fourteen
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 Discovery Cohort Plaintiffs’ interrogatory responses, as well as all currently unverified Plaintiff
 Fact Sheets by no later than January 22, 2020.

        Interrogatory 4

         This Interrogatory seeks the names of all of Plaintiffs’ spouses and relatives to the third-
 degree. Some Plaintiffs failed to fully respond to this request. For example,
                     provided only a mother, father, and brother. Defendants assume that each
 Plaintiff has grandparents, either living or deceased, that were not identified. Please supplement
 each Plaintiffs’ response to the extent necessary to fully respond to Interrogatory 4.

        Interrogatory 5

         This Interrogatory asks Plaintiffs to identify all persons with knowledge of the facts
 supporting Plaintiffs’ claims. In several instances, Plaintiffs’ responses contain errors that need
 clarification. For instance, Plaintiff                                        response states that
                                    is aware of “Plaintiff’s health and” without any words following
 the conjunction. Further, Plaintiffs consistently mentioned health care practitioners, teachers,
 and professors by their titles but omitted their names and contact information. Defendants are
 entitled to the identity and last known contact information of potential witnesses with knowledge
 of Plaintiffs’ claims in this case. Accordingly, please supplement each Plaintiff’s response with
 complete information, including the names and contact information of each person identified in
 Plaintiffs’ responses.

        Interrogatories 6 and 7

         Plaintiffs failed to meaningfully respond to Interrogatories 6 and 7, which seek
 information on the types of contaminants Plaintiffs are claiming exposure to, the dates and
 locations of exposure, the route/method of exposure, when and how Plaintiffs learned of their
 exposure, and whether tests have been conducted for contaminants at the locations of exposure.
 Plaintiffs avoided providing responsive information largely on the grounds that the individual
 Plaintiffs themselves lack personal knowledge of, and the resources necessary to, provide
 answers. Plaintiffs cannot hide behind the individual Plaintiffs’ purported lack of knowledge to
 avoid disclosing the basis for their claims, something they, or you as their attorneys, must have
 known prior to filing these lawsuits. Rather, Plaintiffs are required to provide the factual basis
 for the allegations in their complaints, including the information requested in these
 interrogatories, even if that information is in the possession of their attorneys. See Hickman v.
 Taylor, 329 U.S. 495, 504 (1947) (“A party clearly cannot refuse to answer interrogatories on the
 ground that the information sought is solely within the knowledge of his attorney.”); Gen.
 Dynamics Corp. v. Selb Mfg. Co., 481 F.2d 1204, 1211 (8th Cir. 1973) (requiring a party to
 furnish all information, including information held by counsel, when responding to
 interrogatories); Wycoff v. Nichols, 32 F.R.D. 370, 372 (W.D. Mo. 1963) (“If an appropriate
 interrogatory is propounded, the defendants will be required to give the information available to
 them, if any, through their attorney . . . whether personally known to the defendants or not.”).
 Accordingly, please provide supplemental responses with the requested information.
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         Interrogatory 8

         Interrogatory 8 asks Plaintiffs to identify the injuries, symptoms, and complaints
 Plaintiffs are seeking recovery for in this lawsuit, as well as the dates Plaintiffs first became
 aware of these problems. The information that is the subject of this interrogatory is clearly
 relevant, indeed it’s the very core of this lawsuit. Similar interrogatories are served in nearly
 every personal injury case, and Plaintiffs’ failure to respond is unquestionably improper.

          In lieu of providing a response Plaintiffs’ merely referred Defendants to Plaintiffs’ Fact
 Sheets and medical records. This response is problematic for several reasons. First, Plaintiff’s
 Fact Sheets are years-old and outdated. For example,
 Plaintiff Fact Sheet was completed in 2015. Indeed, from Plaintiffs’ discovery responses alone,
 it’s clear that the fact sheets are themselves either incomplete or outdated and not an acceptable
 response to Defendants’ request. For example,                                          appears to be
 claiming monetary damages for moneys spent on “medicine and a nebulizer.” (Response to Rog.
 10) But                                         did not disclose receiving any treatment for any
 condition he is claiming in this lawsuit in his Fact Sheet. See PFS of
 (Dated 12/9/2015). Plaintiffs have an ongoing obligation under Rule 26 of the Federal Rules of
 Civil Procedure to supplement or correct incomplete or incorrect disclosures, including their Fact
 Sheets, and Defendants are entitled to complete and up to date information on these Plaintiffs.
 Simply referring Defendants to outdated Fact Sheets does not satisfy this burden.

         Plaintiffs’ referral to their medical records is similarly without merit. For starters, as you
 have repeatedly pointed out, these Plaintiffs have grossly incomplete medical records, if any.
 This alone makes Plaintiff’s response incomplete. Furthermore, by referring Defendants to their
 medical records, Plaintiffs push the burden onto Defendants to speculate as to the claims being
 brought. Defendants have no duty to sift blindly through Plaintiffs’ medical records guessing at
 what in there is relevant to this case. Accordingly, please provide up to date and accurate
 information on the claims and symptoms Plaintiffs’ are claiming in this lawsuit, as well as when
 Plaintiffs’ claim they became aware of the problems.

         Interrogatory 9

         Interrogatory 9 seeks information on whether any relative experienced the same
 conditions Plaintiffs claim were caused by lead exposure. Plaintiffs objected on relevance and
 proportionality grounds and did not respond. Plaintiffs’ objections are meritless. Family history
 is routinely explored in many personal injury cases and is clearly relevant here. Family history is
 a significant factor, if not the most significant risk factor, for many of Plaintiffs’ claimed injuries.
 And Defendants’ request is clearly proportional to the needs of this case. Indeed, Defendants
 have no other way to explore family history other than by asking. Defendants have no access to
 Plaintiffs or any realistic access to their family members or their medical records (if any exist).
 Accordingly, please have your clients submit a complete response to this interrogatory.
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         Interrogatory 17

         This interrogatory asks Plaintiffs to describe their education and employment history,
 including the names and addresses of their schools and/or places of employment and dates of
 attendance and/or employment. As with Interrogatory 8, Plaintiffs simply referred Defendants to
 Plaintiffs’ outdated and incomplete Fact Sheets. For the same reasons stated above with respect
 to Interrogatory 8 this response is insufficient. There could be any number of changes in
 Plaintiffs’ education and employment history in the over-four-years since some Plaintiffs served
 their Fact Sheets, and Defendants are entitled to possess complete and up to date employment
 and education histories for each of these Plaintiffs. Accordingly, please provide complete and
 current responses to this interrogatory.

 Responses To Document Requests

         To date, Plaintiffs have failed to produce any records in response to Defendants’
 document requests other, except some Plaintiffs have produced some medical and education
 records pursuant to CMO-4. Please produce all responsive, non-privileged documents in
 Plaintiffs’, or their attorneys’, possession, custody, or control by January 31, 2020.

         Furthermore, Plaintiffs’ responses to Defendants’ interrogatories raise concerns that
 Plaintiffs have withheld responsive documents supporting their claims on the erroneous grounds
 that they are in their attorneys’, not their own, possession. For example, Plaintiffs uniformly
 responded that they have no documents responsive to Request 14 (seeking all documents
 supporting Plaintiffs’ claims that they were injured by contaminants from the La Oroya
 Complex) and Request 15 (seeking all photographs or videotapes depicting the lead mining or
 processing facility Plaintiffs’ claim contributed to their injuries in this case). It surprises us that
 Plaintiffs have no documents responsive to these and other requests. As described above,
 Plaintiffs cannot refuse to produce the factual bases and evidentiary support for their claims
 simply because that information resides in the possession of their attorneys. Such information
 and documents are clearly within Plaintiffs’ control and any such responsive documents must be
 produced. See Hickman, 329 U.S. at 504; Gen. Dynamics Corp., 481 F.2d at 1211; Wycoff, 32
 F.R.D. at 372.

                                                   ***

         As we have with many other issues in this case, I am hopeful we can work these issues
 out and avoid Court intervention. However, it is imperative that these deficiencies are corrected.
 Therefore, given Plaintiffs’ pattern of non-compliance with their discovery obligations,
 Defendants will seek sanctions up to and including dismissal of these Plaintiffs’ claims if
 Plaintiffs do not fully respond in a timely manner.

         Please do not hesitate to contact me should you wish to discuss any of the above.
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                                            Sincerely,




                                            Geoffrey M. Drake




 CC: All Counsel
